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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                August 14, 2023
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk

                            HOUSTON DIVISION

DISH NETWORK L.L.C. and                  §
SLING TV L.L.C.,                         §        CIVIL ACTION NO.
                                         §        4:21-cv-2384
                    Plaintiffs,          §
                                         §
     vs.                                 §        JUDGE CHARLES ESKRIDGE
                                         §
JUAN BARCAN and                          §
JUAN NAHUEL PEREYRA,                     §
individually and collectively            §
d/b/a Live-nba.stream, Freefeds.com,     §
Sportsbay.org, and Sportsbay.tv,         §
                                         §
                    Defendants.          §

                                        ORDER

      Having considered the Resubmitted Motion for Default Judgment filed by Plaintiffs

DISH NETWORK L.L.C. and SLING TV L.L.C. (“Plaintiffs”) (Dkt. 32, the “Motion”), it

is HEREBY ORDERED, ADJUDGED, and DECREED that:

      Plaintiffs’ Motion is GRANTED.

1.    Pursuant to Federal Rule of Civil Procedure 55(b)(2), default judgment is entered in

this matter against Defendants Juan Barcan and Juan Nahuel Pereyra (“Defendants”) on

Plaintiffs’ claims for violations of the Digital Millennium Copyright Act, 17 U.S.C. §§

1201(a)(1)(A) and 1201(a)(2) (Counts I and II).

2.    Plaintiffs are awarded $493,850,000 in statutory damages against Defendants,

jointly and severally, for Defendants’ 2,469,250 violations of section 1201(a)(2) of the

DMCA.
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3.     Defendants and any of their employees, agents, servants, officers, directors,

attorneys, successors, affiliates, assigns, any and all other entities owned or controlled by

Defendants, and all other persons acting in active concert or participation with any of the

foregoing that receives actual notice of the order, are permanently enjoined from:

       a)     circumventing a DRM or any other technological protection measure that

controls access to Sling or DISH programming, including through the use of websites or

any similar internet streaming service;

       b)     manufacturing, offering to the public, providing, or otherwise trafficking in

any technologies, products, or services, including through the use of websites providing

pirated content, or any other service, technology, product, device, component, website, or

part thereof that:

              i.     is primarily designed or produced for circumventing a technological

measure employed by Plaintiffs that controls access to, copying, or the distribution of

copyrighted works;

              ii.    has only limited commercially significant purpose or use other than

circumventing a technological measure employed by Plaintiffs that controls access to,

copying, or the distribution of copyrighted works;

              iii.   is marketed for purposes of circumventing a technological measure

employed by Plaintiffs that controls access to, copying, or the distribution of copyrighted

works; and

       c)     receiving or assisting others in receiving Sling or DISH programming.

So ordered.

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Signed on August 11, 2023, at Houston, Texas.



                                       Hon. Charles Eskridge
                                       United States District Judge




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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 DISH NETWORK L.L.C.
 and NAGRASTAR LLC,                          Case No. 8:18-cv-1332-T-33AAS

                    Plaintiffs,

 v.

 NELSON JOHNSON, JASON
 LABOSSIERE, SET BROADCAST
 LLC, STREAMING ENTERTAINMENT
 TECHNOLOGY LLC, DOE 1, as
 Trustee for Chateau Living
 Revocable Trust, and DOE 2,
 as Trustee for Macromint
 Trust, individually and
 collectively d/b/a
 www.setvnow.com,

                    Defendants.



                                         ORDER

       This matter comes before the Court pursuant to the Report and

Recommendation of the Honorable Amanda Arnold Sansone, United

States Magistrate Judge (Doc. # 58), filed on June 29, 2018.

Therein, Judge Sansone recommends granting Plaintiffs’ Motion for

Preliminary Injunction (Doc. # 3), granting in part and denying in

part Defendants’ construed Motion for relief from the current

temporary restraining order (Doc. # 48), as well as other relief.

       The Court recognizes that parties are afforded a 14-day period

for lodging objections to a Report and Recommendation.                  However,

in this case, all parties have advised the Court that they do not

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object to any term of the June 29, 2018, Report and Recommendation.

See Doc. ## 61, 62.          As explained below, the Court adopts the

Report and Recommendation.

Discussion

       A district judge may accept, reject or modify the magistrate

judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Williams

v. Wainwright, 681 F.2d 732 (11th Cir. 1982), cert. denied, 459

U.S. 1112 (1983).       In the absence of specific objections, there is

no requirement that a district judge review factual findings de

novo, Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993),

and the court may accept, reject or modify, in whole or in part,

the findings and recommendations. 28 U.S.C. § 636(b)(1)(C).                   The

district judge reviews legal conclusions de novo, even in the

absence of an objection.           See Cooper-Houston v. S. Ry. Co., 37

F.3d 603, 604 (11th Cir. 1994); Castro Bobadilla v. Reno, 826 F.

Supp. 1428, 1431-32 (S.D. Fla. 1993), aff’d, 28 F.3d 116 (11th

Cir. 1994).

       After   conducting     a   careful    and   complete    review    of   the

findings, conclusions and recommendations, and giving de novo

review to matters of law, the Court accepts the factual findings

and    legal     conclusions      of   the    magistrate      judge     and   the

recommendation of the magistrate judge.

       Accordingly, it is

       ORDERED, ADJUDGED, and DECREED:

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    (1)   The Report and Recommendation of the Honorable Amanda

          Arnold Sansone, United States Magistrate Judge (Doc. # 58)

          is ACCEPTED and ADOPTED in all respects.

    (2)   The Plaintiffs’ Motion for Preliminary Injunction (Doc. #

          3) is GRANTED.

    (3)   The   Defendants’       construed        motion    for    relief   from    the

          current temporary restraining order (Doc. # 48) is GRANTED

          to the extent that the Defendants request modification to

          the asset freeze language to provide flexibility for the

          release of funds upon the Plaintiffs’ authorization. To

          the extent the construed motion seeks broader relief, the

          Defendants’ motion is DENIED.

    (4)   The    Court     enters       the       parties’   Consent     Preliminary

          Injunction:

       Defendants    and    any    of    their      officers,      agents,   servants,

employees, and those acting in active concert or participation

with them, including affiliates and resellers, who receive actual

notice of this Order are ENJOINED and must RESTRAIN from directly

or indirectly:

       (a)   receiving      or    assisting         others    in     receiving      DISH

             programming without authorization by DISH;

       (b)   operating            the             websites          www.setvnow.com,

             https://store.setvnow.com,



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                  https://affiliate.setvnow.com,                                   and

                  https://reseller.setbroadcast.com;

       (c)        manufacturing,      assembling,          modifying,        importing,

                  exporting,      selling,       distributing,       or       otherwise

                  trafficking in the SET TV streaming service,                  SET TV

                  set-top boxes, SET TV related software, applications,

                  and/or passcodes, A-Box set-top boxes, Setplex set-top

                  boxes, other set-top boxes capable of receiving the SET

                  TV streaming service, or any other technology, product,

                  service, device, component, application, passcode, or

                  part thereof that is primarily of assistance in the

                  unauthorized reception of DISH programming;

       (d)        hosting   or    otherwise      supporting    any      website   that

                  advertises,     promotes,      offers,    sells,      or   otherwise

                  traffics in the SET TV streaming service, SET TV set-

                  top boxes, SET TV related software, applications, and/or

                  passcodes, A-Box set-top boxes, Setplex set-top boxes,

                  other set-top boxes capable of receiving the SET TV

                  streaming service;

       (e)        destroying,      concealing,       hiding,      modifying,         or

                  transferring:

             i.     any computers or computer servers that have been used,

                    are being used, or that are capable of being used to

                    support the SET TV pirate streaming service;

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         ii.        any satellite receivers, smart cards, and satellite

                    dishes, including DISH receiving equipment, that have

                    been used, are being used, or that are capable of

                    being used to support the SET TV pirate streaming

                    service;

        iii.        any SET TV software, applications, and/or passcodes,

                    including any devices capable of storing that software

                    and/or applications such as computers or external

                    storage devices such as thumb drives and diskettes;

         iv.        any SET TV set-top boxes, A-Box set-top boxes, Setplex

                    set-top boxes, or other set-top boxes capable of

                    receiving the SET TV streaming service; and

             v.     any     books,      documents,         files,      records,    or

                    communications whether in hard copy or electronic

                    form, relating in any way to the SET TV streaming

                    service,   set-top    boxes,     and    related    software   and

                    passcodes, or any other service or device that is used

                    in    satellite     television     piracy,        including   the

                    identities of manufacturers, exporters, importers,

                    dealers, or purchasers of such services and devices,

                    or persons involved in operating the SET TV server.

       (f)    transferring,          removing,   encumbering,         or   permitting

                  withdrawal of any assets or property belonging to or

                  under the management of any Defendant, whether real or

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             personal, tangible or intangible, including cash, bank

             accounts of any kind, stock accounts, bonds, title to

             any Defendant’s business property, including any assets

             or property owned, held, or managed by Macromint Trust

             or   Chateau    Living     Revocable       Trust.      A   financial

             institution     or   other       person   may   unfreeze   any   asset

             covered by this section upon prior written authorization

             by Plaintiffs.       Plaintiffs must promptly file notice of

             any such authorization.

       Defendants are warned that any act by them in violation of

any of the terms of this Order after proper notice to them may be

considered and prosecuted as contempt of this Court.

       DONE and ORDERED in Chambers in Tampa, Florida, this 2nd day

of July, 2018.




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